CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   1 ofDocument
                                                  1 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   2 ofDocument
                                                  2 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   3 ofDocument
                                                  3 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   4 ofDocument
                                                  4 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   5 ofDocument
                                                  5 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   6 ofDocument
                                                  6 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   7 ofDocument
                                                  7 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   8 ofDocument
                                                  8 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage   9 ofDocument
                                                  9 of 11   11 Document
                                                                     1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage
                                                  10 of 10
                                                        11 ofDocument
                                                             11 Document
                                                                      1  1
CaseCase
     2:18-mj-00843-NJ  *SEALED*
          2:18-cr-00129-JPS Filed Filed 06/01/18
                                  06/01/18   PagePage
                                                  11 of 11
                                                        11 ofDocument
                                                             11 Document
                                                                      1  1
